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                                   JURY QUESTIONNAIRE


                               Instructions for Jury Questionnaire
       This questionnaire is designed to obtain information about your background as it relates to
your service as a juror in this case. We are using it to shorten the jury selection process. The
purpose of these questions is to determine whether prospective jurors can impartially decide this
case based solely on the evidence presented at trial and the instructions on the law given by the
judge. All information contained in this questionnaire will be kept confidential and under seal.
       Please write your assigned juror number at the top of each page. Respond to each
question. Your candor and honesty are necessary so that both the prosecution and the defense will
have a meaningful opportunity to select an impartial jury. Your cooperation is of vital importance.
       You are sworn to give true and complete answers, and those answers will be available only
to the Court and the parties in this case. You are instructed not to discuss this case or the
questionnaire with anyone, including your family and fellow jurors.
       Please fill out the entire questionnaire. Do not leave any questions blank. If a question
does not apply to you in any way, write “N/A” rather than leaving the form blank.




       PLEASE PRINT LEGIBLY - PLEASE USE ONLY BLACK OR BLUE INK
                                        (NO PENCILS)
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Juror Number: ____________


Personal Information
      1. Name: ______________________________________________________________

      2. Sex: _________________________________________________________________

      3. Date of Birth: _________________________________________________________

      4. Place of Birth: _________________________________________________________

      5. Address: _____________________________________________________________

      6. How long have you lived in the District of Columbia? _________________________


Employment
      7. Are you employed?

      _____ Yes            _____ No

      A. If employed, what is your current occupation / job title? ______________________
      _______________________________________________________________________
      B. Name of employer: ___________________________________________________

      C. How long have you been employed at your current job? ______________________


      8. If you are unemployed, please describe any other responsibilities you may have
         (childcare, school, etc.).
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      9. If you are retired or between jobs, what type of work had you been doing?
______________________________________________________________________________
______________________________________________________________________________


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      10. If you live with a spouse or significant other, is that person employed?

      _____ Yes              _____ No

      A. If employed, what is his or her current occupation / job title?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
      B. Name of the employer:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


Education
      11. Check the highest level of education for you and your spouse or significant other:

                                                       You Spouse/Significant Other
      A. Grade school or less                          _____ _____
      B. Some high school                              _____ _____
      C. High school graduate                          _____ _____
      D. Technical or business school                  _____ _____
      E. Some college                                  _____ _____
      F. College degree                                _____ _____
      G. Graduate degree (and describe area)           _____ _____ Area: _______________



      12. If you are a student now, please describe briefly your area of study:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________



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      13. Do you have any difficulty speaking, understanding, reading, or writing the English
          language?

      _____ Yes             _____ No

      A. If yes, please explain what is difficult for you:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


News/Media
      14. What is your main source for news? [Check the one you rely on the most.]

      _____ Newspapers/Magazines
      _____ TV or Radio
      _____ Internet/Social media websites

      15. Please list any newspapers, magazines, TV or radio shows, or Internet or social media
          websites that you read, watch, or listen to on a regular basis for news:

______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________



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Military Service
       16. Have you or your spouse or significant other ever served in the armed forces?

       _____ Yes              _____ No

       A. If yes, please answer the following, both as to yourself and/or your spouse or significant
          other:
                                                     You                    Spouse/Significant
                                                                            Other

                   Branch and highest rank or rate ______________           ________________
                   Dates of Service                   ______________        ________________


Criminal Justice Experience

       17. Have you, or has any close friend or family member, ever been the victim of or a
           witness to a crime, whether or not that crime was reported to law enforcement
           authorities?

       _____ Yes              _____ No

       A. If yes, please provide the following information for each person and incident:
Relationship of       Type of         Victim or       Police         Was Anyone       Case
person to you?        of Crime?       Witness?        Report?        Caught?          Outcome?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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       18. Have you, or has any close friend or family member, ever been accused of, arrested for,
           or charged with a crime?

       _____ Yes               _____ No

       A. If yes, please provide the following:
Relationship?           Type of crime?       Case Outcome?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


       19. IF YOUR ANSWER TO EITHER QUESTION 17 OR 18 IS YES: Do you feel
           that you or the close friend or family member involved was treated fairly by the
           criminal justice system?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


       20. Have you, or has any member of your family or close friend or relative, ever been
           audited by the Internal Revenue Service?

       _____ Yes               _____ No

       A. If yes, please provide the following:
Relationship (myself, father, etc.)                   Date of Audit               Outcome?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________



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      B. If yes, do you feel that the person involved was treated fairly by the Internal Revenue
         Service?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      21. Have you or a close friend or family member ever been the subject of any other kind
          of law enforcement investigation or administrative enforcement proceeding?

      _____ Yes             _____ No

      A. If yes, please describe the subject matter of the investigation, the government agency
         involved, and the outcome.
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
      B. Do you feel that you or your friend or family member was treated fairly by the
         government agency involved?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      22. Apart from jury service, have you ever been involved in any legal proceeding, in any
          capacity, for example as a plaintiff, defendant, victim, lawyer, witness, or expert?

      _____ Yes             _____ No

      A. If yes, please state when and explain why you appeared in court:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

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       B. If yes, did the legal process in that instance operate fairly in your opinion?
______________________________________________________________________________
______________________________________________________________________________



Jury Service

       23. Have you ever served as a juror at a trial in a federal, state, or local court prior to today?

       _____ Yes               _____ No

       A. If yes, without disclosing the verdict that you reached, please complete the following
          for each trial on which you served as a juror:
 Criminal or    Type of      When did           Where did       Did the jury reach a verdict?
 Civil?         Allegations? you serve?         you serve?

______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


       24. Have you ever served as a juror on a grand jury in federal or state court?

       _____ Yes               _____ No

       A. If yes, when and where: ________________________________________

       B. Were there any cases in which the grand jury was unable to reach agreement on the
          issuance of true bills?

           _____ Yes           _____ No

       C. If your answer to the prior question is yes, describe the case or cases on which the grand
          jury on which you served was unable to reach agreement.
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


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Law Enforcement
      25. Have you, or any members of your family, ever been employed by any law enforcement
          agency, such as: a police department, sheriff’s department, constable’s office, the
          Federal Bureau of Investigation (FBI), the Drug Enforcement Administration (DEA),
          the Bureau of Alcohol Tobacco and Firearms (ATF), the U.S. Marshal’s Service, the
          U.S. Park Police, a United States Attorney’s Office, the United States Department of
          Justice, a District or State’s Attorney’s Office, a probation or parole office, the Bureau
          of Prisons, or any other state, local, or federal law enforcement agency or private
          security force?

      _____ Yes              _____ No

      A. If yes, for each person (yourself or family member) please list the law enforcement
         office or agency, when the person worked there (if you know), and a general description
         of the work he or she did:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
      B. If yes, would that connection to law enforcement employment prevent or hinder you in
         any way from reaching a fair and impartial verdict in this case based solely on the
         evidence presented and the Court’s instructions on the law?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

      26. Have you, or any members of your family, ever been employed by the Internal Revenue
          Service?

      _____ Yes              _____ No

      A. If yes, for each person (yourself or family member) please indicate the period of time
         employed, if known, and a general description of the job duties:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


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      B. If yes, would that employment prevent or hinder you in any way from reaching a fair
         and impartial verdict in this case based solely on the evidence presented and the Court’s
         instructions on the law?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      27. A number of witnesses may be either federal or state law enforcement officers. Is there
          anything about that fact alone that will make it difficult for you to evaluate their
          testimony fairly and impartially in accordance with the Court’s instructions? Put
          another way, would you tend to believe or to disbelieve the testimony of a law
          enforcement witness merely because that person is a law enforcement officer?

      _____ Yes              _____ No

      A. If your answer is yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      28. In this case, the United States is represented by the United States Department of Justice
          through Special Counsel Robert S. Mueller, III. Is there anything about the Special
          Counsel’s Office that would prevent or hinder you in any way from rendering a fair
          and impartial verdict in this case based solely on the evidence presented and the Court’s
          instructions on the law?

      _____ Yes              _____ No

      A. If yes, please explain why:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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Work/Financial Experience
      29. Have you, or any member of your immediate family, ever been employed as an auditor,
          mortgage officer, tax preparer, or accountant?

      _____ Yes              _____ No

      A. If yes, for each person (yourself or family member) please indicate the period of time
         employed, if known, and a general description of the job duties:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
      B. If yes, would that employment prevent or hinder you in any way from reaching a fair
         and impartial verdict in this case based solely on the evidence presented and the Court’s
         instructions on the law?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      30. Have you ever had a foreign bank account?

      _____ Yes              _____ No



      31. Have you, or any member of your immediate family, ever worked in the legal
          profession in any way, either as a lawyer, paralegal, or as an administrative assistant in
          a law office, including a prosecutor’s or public defender’s office?

      _____ Yes              _____ No

      A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


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      B. If yes, would that legal employment prevent or hinder you in any way from reaching a
         fair and impartial verdict in this case solely on the evidence presented and the Court’s
         instructions on the law:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________


      32. Have you, or any member of your immediate family, had any legal training, including
          law courses, paralegal programs, or on-the-job training?

      _____ Yes             _____ No

      A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      B. If yes, would that legal training prevent or hinder you in any way from reaching a fair
         and impartial verdict in this case solely on the evidence presented and the Court’s
         instructions on the law:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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Nature of the Evidence and the Charged Crimes
      33. The indictment charges the defendant with conspiracy involving filing false tax returns
          and failing to report foreign bank accounts; money laundering conspiracy; failing to
          register as a foreign agent; making false statements to the government; and attempting
          to tamper with a witness (and related conspiracy offenses). Is there anything about the
          nature of those charges alone that would make it difficult for you to be a fair and
          impartial juror in this case?

      _____ Yes             _____ No

      A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

______________________________________________________________________________
______________________________________________________________________________



      34. The indictment charges in part that income involved in the tax conspiracy and money
          laundering conspiracy charges was derived from lobbying, political consulting, and
          public relations work. Is there anything about the nature of those charges that would
          make it difficult for you to be a fair and impartial juror in this case?

      _____ Yes             _____ No

      A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

______________________________________________________________________________
______________________________________________________________________________




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      35. The indictment charges that income involved in the charges was derived from work for
          the government of Ukraine and certain Ukrainian government officials, politicians, and
          political parties, in particular, President Victor Yanukovych, the Party of Regions, and
          the Opposition Bloc. Is there anything about those allegations that would make it
          difficult for you to be a fair and impartial juror in this case?

      _____ Yes             _____ No

      A. If yes, please explain:


______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________



      36. Some of the witnesses in this case may be people who were involved in crimes
          themselves. They would testify as part of a cooperation agreement with the
          government, or as part of a guilty plea, or under an order from the Court giving them
          immunity. Is there anything about that circumstance that will make it difficult for you
          to evaluate their testimony fairly and impartially in accordance with the Court’s
          instructions?

      _____ Yes             _____ No

      A. If yes, please explain:


______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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Knowledge of the Case
      37. This case has received significant publicity in the media. Have you seen, read, or heard
          anything at all about this case in any form of media, including newspaper, television,
          radio, or internet?

      _____ Yes              _____ No

      A. If yes, please explain, to the best of your recollection, (i) what you have seen, read, or
         heard, (ii) the source of that information, and (iii) when that occurred:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

______________________________________________________________________________


      38. Has the news coverage or any other information you have seen, read, or heard led you
          to form an opinion about the defendant’s guilt or innocence of the charges in this case?

         _____ Yes           _____ No

      A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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      39. Have you personally written, blogged, or posted anything about this defendant or this
          case?

         _____ Yes          _____ No

      A. If yes, please describe when and where you did so and the subject of your comments:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      40. Would you be able to put to one side everything you have seen, read, or heard about
          this case, and not consider that information at all, and decide the case fairly and
          impartially based solely on the evidence presented in the courtroom and the Court’s
          instructions of law?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      41. You have been instructed this morning, and you will continue to be instructed if you
          are selected as a juror, that you may not communicate with anyone about the case, or
          read or pay attention to any news or social media coverage the case may receive. Is
          there anything you know of today that will prevent you from complying with that
          instruction?
      _____ Yes             _____ No
      A. If yes, please explain:

______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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      42. Have you or any close friend or family member ever run for or held a political office
          in the federal, state, or local government?

      _____ Yes              _____ No

      A. If yes, would anything about that person’s running for or holding political office cause
         you to form an opinion about the defendant’s guilt or innocence?

      _____ Yes              _____ No

      B. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      43. Have you ever been actively involved in, a volunteer for, or contributed to a political
          campaign, party, or organization?

         _____ Yes                   _____ No
      A. If yes, would anything about that experience cause you to form an opinion about the
         defendant’s guilt or innocence?

         _____ Yes                   _____ No
      B. If yes, please explain:

______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

      44. You may hear some limited amount of evidence that individuals involved in this case
          were associated at some time with the Trump campaign. Is there anything about that
          information that would make it difficult for you to remain fair and impartial to both
          sides and to return a verdict based solely on the evidence in accordance with the Court’s
          instructions?
   ___________________________________________________________________________
   ___________________________________________________________________________
   ___________________________________________________________________________

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      45. Do you, any member of your immediate family, or any close personal friend have any
          connection to Ukraine?

      _____ Yes              _____ No

      A. If yes, would anything about that connection to Ukraine cause you to form an opinion
         about the defendant’s guilt or innocence?

      _____ Yes              _____ No

      B. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________


Knowledge of People Associated with the Case
      46. The following is a partial list of individuals whose names may come up in connection
          with this case. Do you, to your knowledge, have any personal, family, or business
          connection of any sort with any of them? If yes, please circle the name(s) of the person
          and explain that connection in the space below:


       Aegis Holdings LLC                               Begemot Ventures International
       Marc Baldinger                                   Samuel Patten


       Akin Gump Strauss Hauer and Feld                 Big Picture Solutions, Inc.
       Melissa Laurenza                                 Joel Maxwell


       Alan Couture                                     CXSSR
       Maximillian Katzman                              Chris Badeaux


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Daniel J. Edelman, Inc.                      Fact Based Communications (FBC)
Christopher Deri                             Jennifer Armes
                                             Susana Braz
Davis Manafort Partners, Inc. / DMP          Alan Friedman
International LLC
                                             Andrea Giannotti
Rick Davis
                                             Eli Hadzhieva
Rick Gates
                                             Elizabeth Klapprott
Philip Griffin
                                             Patrizia Marin
Konstantin Kilimnik
                                             Jess Panesar
Paul Manafort
                                             Alanna Putze
                                             Eckart Sager
Devine Mulvey Longabaugh
                                             Peter Sich
Thomas A. Devine
                                             Tim Stott
                                             Gino Trisolino
European Centre for a Modern Ukraine
Andy Edgel
                                             Federal Bureau of Investigation
Ina Kirsch Van de Water
                                             Morgan Magionos
Rob Van de Water
                                             Omer Meisel
                                             Renee Michael
European Politicians
                                             Michael Mikuska
Mevlut Çavuşoğlu, Minister of Foreign
                                             Jeffrey Weiland
Affairs of Turkey
Alfred Gusenbauer, former Chancellor
of Austria                                   Federal Stone and Brick LLC
Aleksander Kwasniewski, former               Doug DeLuca
President of Poland
Romano Prodi, former Prime Minister
of Italy                                     First Republic Bank
                                             Hesham Ali




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FTI Consulting                             Mercury/Clark & Weinstock
Jon Aarons                                 Cheryl Faunce
Jonathan Hawker                            Kirill Goncharenko
                                           Ed Kutler
House of Bijan                             John Lonergan
Ronald Wall                                Mike McSherry
                                           Sam Obenhaus
Internal Revenue Service                   Lucy-Claire Saunders
Michael Welch                              Vin Weber
Robert Valdini                             Andrew Wright


JadeRoq                                    New Leaf Landscape Maintenance
Jason Maloni                               Michael Regolizio


J&J Oriental Rug Gallery                   Nigro Karlin Segal Feldstein & Bolno
Joshua Nabatkhorian                        Heather Washkuhn


Kositzka, Wicks & Co.                      Other Entities
Philip Ayliff                              Alexandria Land Rover/Don Beyer
                                           Motors
Naji Lakkis
                                           First Nationwide Title Agency
Cindy LaPorta
                                           Kennington Vanguard
Conor O’Brien
                                           Land, Carrrol & Blair, P.C.
                                           MC Brooklyn Holdings LLC
McEnearney Associates Inc, Realtors
                                           MC Soho Holdings LLC
Wayne Holland


Mercedes Benz
Daniel Opsut


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Other Individuals                      Sabetello Construction
Bruce Baldinger                        Carl Sabatello
Andrea Manafort
Jessica Manafort                       Scott L. Wilson Landscaping & Tree
                                       Specialists, Inc.
Kathleen Manafort
                                       Scott L. Wilson
Jeffrey Yohai


                                       Sensoryphile Inc.
Podesta Group
                                       Greg Garland
John Anderson
Cristina Antelo
                                       Skadden, Arps, Slate, Meagher & Flom
Matt Baker
                                       Matthew Cowie
Michael Burns
                                       Greg Craig
Ben Chang
                                       Ken Gross
Scott Chesson
                                       Kelvin Reese
Christy Clark
                                       Cliff Sloan
Rebecca Edgar
                                       Alex Van Der Zwaan
Kimberley Fritts
                                       Patty Zweibel
Kevin Griffis
Andrew Kauders
                                       SP&C Home Improvement
Molly McKew
                                       Stephen Jacobsen
Gwen Mellor
Anthony Podesta
                                       Treasury Department
Stephen Rademaker
                                       Paula Liss
Mark Tavlarides
Kenneth Zoeller


RSH Campaigns
Daniel Rabin


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      Ukrainian Politicians                            Oleksandr Lavrynovych
      Rinat Akhmetov                                   Valeriya Lutkovska
      Mykola Azarov                                    Serhiy Lyovochkin
      Tevgeny Geller                                   Mykhaylo Okhendovsky
      Kostyantyn Gryshchenko                           Andrii Olefirov
      Vitaliy Kalyuzknyy                               Andrii Portnov
      Valeriy Khoroshkovsky                            Viktor Pshonka
      Andriy Klyuyev                                   Yulia Tymoshenko
      Sergiy Klyuyev                                   Oleg Voloshyn
      Boris Kolisnikov                                 Viktor Yanukovych
      Leonid Kozhara                                   Oleksandr Yefremov
      Dmytro Kuleba                                    Viktor Yushchenko



      47. The lawyers representing the United States during this trial will be Andrew Weissmann,
          Greg Andres, and Jeannie Rhee; and the lawyers representing the defendant will be
          Kevin M. Downing, Thomas E. Zehnle, and Richard W. Westling. Judge Amy Berman
          Jackson will be the judge presiding over the trial. Do you believe that you know, or
          have any connection to or association with, any of these people?

      _____ Yes               _____ No

      A. If yes, please explain who you know and how you know them:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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      48. The jury will be instructed that the defendant is presumed to be innocent throughout
          the trial and that the defendant cannot be found guilty of any offense unless and until
          the government has proven each element of that offense beyond a reasonable doubt.
          Would you find it difficult for any reason to obey that instruction?

      _____ Yes              _____ No

      A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      49. If you are selected as a juror in this case, would it be difficult for you to disregard any
          ideas, notions, or beliefs about the law you may hold, and render a fair and impartial
          verdict based solely on the evidence presented and the Court’s instructions of law?
_____________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      50. Jury selection in this case will begin on Monday, September 17, 2018. The Court will
          not sit on Wednesday, September 19, 2018. The trial, and the presentation of evidence
          to the jurors who are selected, will begin on Monday, September 24, and the trial is
          expected to take approximately three weeks. In this respect, you should know that it is
          unlawful for an employer to discharge, threaten to discharge, intimidate, or coerce any
          employee because of the employee’s jury service. Given this, is there any truly exigent
          circumstance that would prevent you from serving on this jury?

      _____ Yes              _____ No

      A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


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      51. The Court plans to sit from approximately 9:30 a.m. to 5:00 p.m. each day, with an
          hour break for lunch and mid-morning and mid-afternoon breaks as well. Do you suffer
          from any physical or mental condition(s) that would affect your ability to sit for that
          period of time and pay close and careful attention to the evidence and to render an
          impartial verdict?

      _____ Yes             _____ No

      A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      52. Do you have any moral, religious, or ethical beliefs that prevent you from sitting in
          judgment of another person in a criminal trial?

      _____ Yes             _____ No

      A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




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      53. Is there anything about the nature of this case, including specifically that (i) it involves
          allegations of conspiracy including filing false tax returns, money laundering
          conspiracy, false statements, and attempting to tamper with witnesses and (ii) it
          involves allegations relating to payments for lobbying work on behalf of Ukrainian
          politicians, that would prevent or hinder you in any way from rendering a fair and
          impartial verdict based solely on the evidence presented and the Court’s instructions of
          law?

      _____ Yes              _____ No

      A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      54. Is there anything about the nature of the questions in this questionnaire that suggests to
          you that you will not be able to sit as fair and impartial?

      _____ Yes              _____ No

      A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

      55. Do you know of any other reason – even if it was not asked in this questionnaire – why
          you cannot sit as a juror in this case and judge the evidence presented fairly and
          impartially and apply the law as instructed by the Court?
      _____ Yes              _____ No


      A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


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I, _________________________________, hereby declare under penalty of perjury that the
foregoing answers set forth in this Jury Questionnaire are true and correct to the best of my
knowledge and belief. I have not discussed my answers with others, or received assistance in
completing the questionnaire. I have answered all of the above questions myself.


                                                         ______________________________
                                                         Signature

                                                         ______________________________
                                                         Print full name

                                                         ______________________________
                                                         Date




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PLEASE USE THIS PAGE TO CONTINUE ANY OF YOUR ANSWERS. PLEASE INCLUDE
THE QUESTION NUMBER NEXT TO EACH RESPONSE.
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